Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 1 of 10 Page ID #:3142



 1

 2

 3

 4

 5

 6

 7

 8                     UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10

11
      NOLAN LOPEZ,                              CASE NO. 5:16-CV-00065-DMG (SK)

12                       Petitioner,            REPORT AND
                  v.                            RECOMMENDATION TO DENY
13                                              HABEAS PETITION
      DEBBIE ASUNCION,
14
                         Respondent.
15

16       This Report and Recommendation is submitted to the Honorable Dolly
17 M. Gee, U.S. District Judge, under 28 U.S.C. § 636 and General Order 05–07

18 of the U.S. District Court for the Central District of California.

19                                         I.
20                                PROCEEDINGS
21       Petitioner is a California state prisoner serving a life sentence without
22 possibility of parole, plus 10 years, after a jury convicted him of first-degree

23 felony murder, carjacking, and robbery. The jury found Petitioner not guilty

24 of first-degree premeditated murder and found gang allegations not true.

25 On appeal, Petitioner challenged: (1) the denial of his motion to strike the

26 gang allegations for insufficient evidence at the preliminary hearing; (2) the

27 use of a verdict form that inaccurately listed felony murder as a lesser-

28 included offense of first-degree premeditated murder; (3) the denial of his
 Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 2 of 10 Page ID #:3143



 1 motion to substitute defense counsel two days before trial; and (4) the denial

 2 of his request for self-representation made for the first time at sentencing 10

 3 weeks after the jury verdict. (Lodged Document (“LD”) 4). The California

 4 Court of Appeal rejected these claims in the last reasoned state court

 5 decision. (LD 7).

 6         The Court of Appeal held: (1) the gang allegations were supported by
 7 sufficient probable cause based on the evidence presented at the preliminary

 8 hearing evidence and did not likely result in prejudice since the jury found

 9 the gang allegations not true; (2) the inaccuracy on the verdict form was a

10 technical error only and not prejudicial since the jury instructions on felony

11 murder were correct and the jury acquitted Petitioner of first-degree

12 premediated murder; (3) the trial court was within its discretion to deny the

13 last-minute motion to substitute counsel after it had addressed Petitioner’s

14 concerns at a full hearing and concluded that his complaints centered on

15 miscommunications and disagreements over defense strategy that should

16 not disqualify his attorney; and (4) the trial court was within its discretion to

17 deny the self-representation request as untimely and a delay tactic because

18 Petitioner had waited 10 weeks after the verdict to make the request for the

19 first time on the day of his sentencing and he wanted to postpone sentencing

20 to file a second motion for a new trial. (LD 7). Petitioner now seeks federal
21 habeas relief on the same grounds already rejected on the merits by the

22 California Court of Appeal.1

23
   1 Petitioner asserts a fifth claim of cumulative error in the Petition that he raised on direct
24 appeal, but which the California Court of Appeal and Supreme Court rejected without

25 comment. Because Petitioner is not entitled to habeas relief on any of his individual
   claims, this claim necessarily fails and requires no extended discussion. See Mancuso v.
26 Olivarez, 292 F.3d 939, 957 (9th Cir. 2002). In addition, Petitioner raised new claims for
   the first time in his Traverse. (ECF No. 19). These claims are waived since they were not
27 presented in the Petition. See Cacoperdo v. Demosthenes, 37 F.3d 504, 507 (9th Cir.
   1994). In any case, the new claims lack merit and do not justify habeas relief. See 28
28
   U.S.C. § 2254(d)(1).

                                                  2
Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 3 of 10 Page ID #:3144



 1                                        II.
 2                                 DISCUSSION
 3        A petitioner may not relitigate in federal court claims already
 4 adjudicated on the merits by the state court unless the state court’s decision

 5 “was contrary to, or involved an unreasonable application of, clearly

 6 established Federal law,” as determined by the U.S. Supreme Court. 28

 7 U.S.C. § 2254(d)(1). To overcome this relitigation bar, the petitioner must

 8 show that the state court’s ruling on the claim being presented in federal

 9 court was not merely incorrect, but “so lacking in justification that there was

10 an error well understood and comprehended in existing law beyond any

11 possibility of fairminded disagreement.” Harrington v. Richter, 562 U.S.

12 86, 103 (2011). The reason for this high bar is because “the purpose of

13 AEDPA is to ensure that federal habeas relief functions as a ‘guard against

14 extreme malfunctions in the state criminal justice systems,’ and not as a

15 means of error correction.” Greene v. Fisher, 565 U.S. 34, 38, (2011)

16 (citation and internal quotations omitted). Having reviewed the Court of

17 Appeal’s opinion and relevant state court records, the Court concludes that

18 the state court’s rejection of Petitioner’s claims was neither contrary to nor

19 an unreasonable application of clearly-established Supreme Court caselaw.

20    A. The Denial of Petitioner’s Motion to Dismiss the Gang
21       Allegations Does Not Merit Habeas Relief
22       Petitioner’s challenge to the denial of his pre-trial motion to dismiss
23 the gang allegations for insufficient evidence at the preliminary hearing is, at

24 the outset, not cognizable on federal habeas review. The motion arises under

25 California Penal Code § 995, and a federal habeas court cannot review a state

26 court’s application of its own state law. See Estelle v. McGuire, 502 U.S. 62,

27 67-68 (1991). Indeed, the Court of Appeal’s conclusion that probable cause

28 supported the gang allegations at the time of the preliminary hearing is

                                           3
Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 4 of 10 Page ID #:3145



 1 binding in this federal habeas proceeding. See Bradshaw v. Richey, 546

 2 U.S. 74, 76 (2005) (“[A] state court's interpretation of state law […] binds a

 3 federal court sitting in habeas corpus.”). The fact that Petitioner may have

 4 invoked his right to a fair trial in challenging the state court’s application of

 5 its own laws does not change this fundamental state law claim into a federal

 6 one. See Gray v. Netherland, 518 U.S. 152, 163 (1996) (general appeal to a

 7 constitutional guarantee does not transform state-law issue into federal

 8 habeas claim); Poland v. Stewart, 169 F.3d 573, 584 (9th Cir. 1999) (mere

 9 addition of phrase “due process” to state law claim does not render it

10 cognizable in habeas).

11       Furthermore, the U.S. Supreme Court has never held that allegations
12 presented at a state preliminary hearing must meet a standard of proof

13 higher than the probable-cause standard required by California law to satisfy

14 the Constitution. Indeed, because there is no federal constitutional right to a

15 state preliminary hearing in the first place, see Peterson v. California, 604

16 F.3d 1166, 1169 (9th Cir. 2010), it cannot be that the Constitution has

17 anything to say about the quantum of proof required or the sufficiency of the

18 evidence presented at a state preliminary hearing. Petitioner’s claim fares

19 no better by casting it as an alleged due process violation caused by the

20 admission of allegedly prejudicial gang evidence at trial. Here again, even
21 assuming such evidence should not have been admitted because of its

22 potentially prejudicial effect, the Supreme Court has not squarely ruled that

23 the erroneous admission of overtly prejudicial evidence constitutes a due

24 process violation sufficient to warrant habeas relief. See Holley v.

25 Yarborough, 568 F.3d 1091, 1101 (9th Cir. 2009). Therefore, Court of

26 Appeal’s decision affirming the denial of Petitioner’s motion to dismiss the

27 gang allegations cannot be an unreasonable application of clearly-

28 established federal law. See Knowles v. Mirzayance, 556 U.S. 111, 122

                                            4
Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 5 of 10 Page ID #:3146



 1 (2009) (“[I]t is not an unreasonable application of clearly established

 2 Federal law for a state court to decline to apply a specific legal rule that has

 3 not been squarely established by [the Supreme] Court.”).

 4       Finally, as the California Court of Appeal observed, “it is doubtful
 5 [Petitioner] suffered prejudice from the alleged erroneous denial” of his

 6 motion to dismiss the gang allegations given that the jury rejected those very

 7 allegations at trial, finding them to be not true. (LD 7 at 29). For this reason

 8 as well, Petitioner is not entitled to habeas relief since he cannot establish

 9 actual prejudice from the alleged erroneous denial of his motion to dismiss

10 the gang allegations. See Brecht v. Abrahamson, 507 U.S. 619, 637 (1993).

11    B. The Inaccurate Verdict Form Does Not Merit Habeas Relief
12       Petitioner contends that the Court of Appeal should have invalidated
13 the jury verdict because the verdict form incorrectly labeled felony murder as

14 a lesser-included offense of first-degree premeditated murder, thereby

15 misleading or confusing the jury into believing that it could convict him of

16 premeditated murder on a felony-murder theory. But as the Court of Appeal

17 noted, the jury was correctly instructed on the elements of felony murder in

18 the first degree and is presumed to have followed the accurate jury

19 instructions, notwithstanding any “technical error” in the description on the

20 verdict form. (LD 7 at 36). That determination is not contrary to or an
21 unreasonable application of Supreme Court precedent. See Weeks v.

22 Angelone, 528 U.S. 225, 234 (2000) (“A jury is presumed to follow its

23 instructions.”); Silva v. McDonald, 891 F. Supp. 2d 1116, 1125 (C.D. Cal.

24 2012) (“where a mistake or ambiguity in a verdict form is at issue, the

25 mistake or ambiguity should be considered in its context and with

26 consideration of all of the circumstances at trial”).

27       Additionally, the Court of Appeal determined that any error in the
28 verdict form was harmless because “the jury acquitted [Petitioner] of first

                                           5
Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 6 of 10 Page ID #:3147



 1 degree premeditated murder,” leaving “no reason to suppose the jury simply

 2 found [him] guilty of felony murder because it was listed as a lesser included

 3 offense.” (LD 7 at 36). Even when a jury may have relied on an invalid

 4 theory of guilt due to a faulty jury instruction, the Supreme Court has held

 5 that habeas relief is only warranted if the error had a “substantial and

 6 injurious effect or influence in determining the jury’s verdict.” Hedgpeth v.

 7 Pulido, 555 U.S. 57, 58 (2008); see Cupp v. Naughten, 414 U.S. 141, 147

 8 (1973) (single erroneous instruction can rarely “rise to the level of

 9 constitutional error” because it “is but one of several components of the

10 trial” that “includes testimony of witnesses, argument of counsel, receipt of

11 exhibits in evidence, and instruction of the jury by the judge”). Petitioner

12 cannot show such actual prejudice here beyond any possibility of fairminded

13 disagreement because, as the Court of Appeal observed, the jury found

14 Petitioner not guilty of first-degree premeditated murder despite the verdict

15 form’s technical error. Therefore, the Court of Appeal’s conclusion was not

16 objectively unreasonable. See Harrington, 562 U.S. at 102 (habeas relief

17 permissible only “where there is no possibility fairminded jurists could

18 disagree that the state court’s decision conflicts with [Supreme Court]

19 precedents”).

20    C. The Denial of Petitioner’s Motion for Substitution of Counsel
21       Does Not Merit Habeas Relief
22       The denial of Petitioner’s motion for substitution of counsel made two
23 days before trial does not warrant federal habeas relief. For starters,

24 Petitioner’s challenge arises under People v. Marsden, 2 Cal. 3d 118 (1970),

25 which lays out the California state procedures and standards for assessing a

26 defendant’s request to substitute appointed counsel. Id. at 123-26. As a

27 fundamental state law claim that the California Court of Appeal rejected by

28 applying state law standards, Petitioner’s challenge is not cognizable on

                                          6
Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 7 of 10 Page ID #:3148



 1 federal habeas review. See Estelle, 502 U.S. at 67-68; Gonzalez v. Knowles,

 2 515 F.3d 1006, 1012 (9th Cir. 2008); Nickelberry v. Soto, 2015 WL 502935,

 3 at *19 (E.D. Cal. Feb. 5, 2015). Nor can a federal habeas court second guess

 4 the Court of Appeal’s conclusion that the trial court had relied upon valid

 5 reasons permitted by Marsden and acted within the discretion afforded by

 6 California state law when it refused to substitute counsel on the eve of trial.

 7 See Bradshaw, 546 U.S. at 76.

 8       Second, insofar as Petitioner’s claim implicates the Sixth Amendment
 9 right to counsel, the Court of Appeal’s rejection of his request for new

10 appointed counsel is not contrary to or an unreasonable application of

11 clearly-established Supreme Court cases. An indigent defendant is not

12 entitled to the appointment of counsel of his choice. See United States v.

13 Gonzalez–Lopez, 548 U.S. 140, 151 (2006) (citing Wheat v. United States,

14 486 U.S. 153, 159 (1988)). The right to counsel may be violated by the

15 denial of a substitution request only if counsel’s performance is objectively

16 and prejudicially deficient under Strickland v. Washington, 466 U.S. 668

17 (1984), or if there exists an actual conflict of interest based upon multiple

18 representation adversely affecting the lawyer’s performance. See Cuyler v.

19 Sullivan, 446 U.S. 335, 336 (1980). Otherwise, the Sixth Amendment right

20 to counsel does not guarantee a “meaningful relationship” between the
21 accused and his counsel. Morris v. Slappy, 461 U.S. 1, 11-12 (1983).

22 Instead, “the appropriate inquiry focuses on the adversarial process, not on

23 the accused’s relationship with his lawyer as such.” United States v. Cronic,

24 466 U.S. 648, 657 n. 21 (1984).

25       Beyond those settled principles, the Supreme Court has not clearly
26 established that disagreements, distrust, or dislike between a defendant and

27 his appointed lawyer are enough to require substitution of counsel under the

28 Sixth Amendment. See Plumlee v. Masto, 512 F.3d 1204, 1210 (9th Cir.

                                           7
Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 8 of 10 Page ID #:3149



 1 2008) (en banc) (“Plumlee has cited no Supreme Court case-and we are not

 2 aware of any-that stands for the proposition that the Sixth Amendment is

 3 violated when a defendant is represented by a lawyer free of actual conflicts

 4 of interest, but with whom the defendant refuses to cooperate because of

 5 dislike or distrust.”); Owsley v. Bowersox, 234 F.3d 1055, 1057 (8th Cir.

 6 2000) (“there is no Supreme Court holding that controls the issue” whether

 7 “irreconcilable conflict” between defendant and appointed counsel based on

 8 “complete breakdown in communications” can violate constitutional rights);

 9 Gonzalez v. Allison, 2015 WL 5819111, at *7 (C.D. Cal.), adopted by, 2015

10 WL 5768338 (C.D. Cal. Sept. 30, 2015) (“[P]etitioner has identified no

11 Supreme Court decision which clearly establishes that the failure to grant a

12 motion for substitute counsel predicated on the type of ‘conflict’ with counsel

13 which petitioner asserts here violates his Sixth Amendment right to

14 counsel.”). The “essential aim of the [Sixth] Amendment is to guarantee an

15 effective advocate for each criminal defendant rather than to ensure that a

16 defendant will inexorably be represented by the lawyer whom he prefers.”

17 Wheat, 486 U.S. at 159.

18       While the Ninth Circuit has held that an “irreconcilable conflict” based
19 on a “complete breakdown in communication” can amount to a “constructive

20 denial of the Sixth Amendment right to counsel,” Stenson v. Lambert, 504
21 F.3d 873, 886 (9th Cir. 2007), no Supreme Court case has so held. See

22 Lopez v. Smith, 135 S. Ct. 1, 4 (2014) (“Circuit precedent cannot ‘refine or

23 sharpen a general principle of Supreme Court jurisprudence into a specific

24 legal rule that this Court has not announced.’”); Reyes v. Gipson, 2012 WL

25 996555, at *6 (E.D. Cal. Mar. 23, 2012) (“there is no direct precedent from

26 the Supreme Court holding that a denial of a motion to relieve defense

27 counsel can be unconstitutional”). In any case, even under the Ninth

28 Circuit’s “irreconcilable conflict” standard, Petitioner’s claim would still fail

                                            8
 Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 9 of 10 Page ID #:3150



 1 because “not every conflict or disagreement between the defendant and

 2 counsel implicates Sixth Amendment rights.” Schell v. Witek, 218 F.3d

 3 1017, 1027 (9th Cir. 2000) (en banc). “Disagreements over strategical or

 4 tactical decisions do not rise to level of a complete breakdown in

 5 communication.” Stenson, 504 F.3d at 886.

 6       Indeed, courts have found that disagreements, conflicts, and
 7 miscommunications like those cited by Petitioner do not offend the Sixth

 8 Amendment. See, e.g., United States v. McKenna, 327 F.3d 830, 844 (9th

 9 Cir. 2003) (“well-settled” that a dispute over trial tactics is “not a sufficient

10 conflict to warrant substitution of counsel”); United States v. Wadsworth,

11 830 F.2d 1500, 1509 (9th Cir. 1987) (“[A]ppointed counsel, and not his

12 client, is in charge of the choice of trial tactics and the theory of defense.”);

13 Owsley, 234 F.3d at 1057 (denying habeas relief where defendant accused

14 appointed counsel “of neglecting to meet and consult with him about his

15 defense, failing to conduct all requested investigations, speaking to him in a

16 condescending fashion, and calling him a profane name”). It follows

17 therefore that fairminded jurists could reasonably agree with the Court of

18 Appeal’s decision to affirm the trial court’s discretionary denial of

19 Petitioner’s request for substitution of counsel made two days before trial.

20    D. The Denial of Petitioner’s Faretta Claim Does Not Merit
21       Habeas Relief
22        The California Court of Appeal did not unreasonably uphold the trial
23 court’s denial of Petitioner’s belated request under Faretta v. California,

24 422 U.S. 806 (1975). The Court of Appeal ruled that Petitioner had not

25 brought his Faretta request within a reasonable time because it was made

26 10 weeks after the jury verdict on the day of sentencing and would have

27 required a continuance because Petitioner claimed he wanted to file a

28 second motion for a new trial. (LD 7 at 42-45). Because Petitioner had no

                                            9
Case 5:16-cv-00065-DMG-SK Document 32 Filed 08/14/17 Page 10 of 10 Page ID #:3151



 1 explanation for why he had not raised his Faretta request sooner, the Court

 2 of Appeal reasoned that Petitioner’s request was untimely and a tactic to

 3 delay sentencing. (LD 7 at 45). “Because the Supreme Court has not clearly

 4 established when a Faretta request is untimely, other courts are free to do

 5 so as long as their standards comport with the Supreme Court’s holding that

 6 a request ‘weeks before trial’ is timely.” Marshall v. Taylor, 395 F.3d 1058,

 7 1061 (9th Cir. 2005) (citation omitted). Here, the Court of Appeal’s

 8 determination that a Faretta request is untimely when made 10 weeks late

 9 on the day of sentencing comports with the Supreme Court’s guidance and

10 therefore is not contrary to, or an unreasonable application of, clearly

11 established federal law.

12                                       III.
13                                CONCLUSION
14       For the reasons above, the Court recommends that the District Judge
15 deny the Petition and enter Judgment dismissing this action with prejudice.

16 The Court further recommends that no certificate of appealability issue

17 because Petitioner has not made a substantial showing of the denial of a

18 constitutional right. See 28 U.S.C. § 2253(c)(2); Fed. R. App. P. 22(b);

19 Miller–El v. Cockrell, 537 U.S. 322, 336 (2003).

20
21
     DATED: August 14, 2017
22                                              HON. STEVE KIM
23                                              U.S. MAGISTRATE JUDGE
24

25

26

27

28

                                         10
